                      Case 4:14-cr-00080-KGB                  Document 197                Filed 09/02/15        Page 1 of 6
A02458        (Rev. 09/11) Judgment ma Cnminal Case                                                                         fl LED
                                                                                                                       U.S. DISTRICT COURT
              Sheet I                                                                                              EASTERN DISTRICT ARKANSAS

                                                                                                                                 02 2015
                                          UNITED STATES DISTRICT COURT                                                   }EP
                                                                                                             JAMES .l~kJin.k'i\Mtc.K CLERK
                                                                                                                        1
                                                           Eastern District of Arkansas                      By:   ~~ c:::· ;·Jllr" '
                                                                          )                                                                   DEPCLERK
             UNITED STA TES OF AMERICA                                    )        JUDGMENT IN A CRIMINAL CASE
                                 v.                                       )
             FREDRICK ALVAREZ FERGUSON                                    )
                                                                                   Case Number: 4:14-cr-00080-08 KGB
                                                                          )
                                                                          )        USM Number: 28586-009
                                                                          )
                                                                          )        GARRYJ.CORROTHERS
                                                                                   Defendant's Attorney
THE DEFENDANT:
!¥(pleaded guilty to count(s)         1
                                  ~------------------------------------




0 pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                          Offense Ended
21 U.S.C. §§ 841 (a)(1)           Conspiracy to Possess with Intent to Distribute and to                     4/2/2014                     1

 and (b)(1 )(C) and 846           Distribute Oxycodone, a Class C Felony



       The defendant is sentenced as provided in pages 2 through           __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)     ~------------
                                                        Dis       D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              8/27/2015
                                                                          Date oflmposition of Judgment




                                                                              Kristine G. Baker                         U.S. District Judge
                                                                          Name and Title of Judge




                                                                          Date
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AO 2458    (Rev. 09/11) Judgment m Crimmal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment -   Page    2   of   6
DEFENDANT: FREDRICK ALVAREZ FERGUSON
CASE NUMBER: 4:14-cr-00080-08 KGB


                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 41 months




    ilf" The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends that the defendant participate in residential substance abuse treatment and education and vocational
 programs during incarceration.


    ilf" The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at                                    D a.m.     D p.m.      on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                        By
                                                                                           DEPUTY UNITED STA TES MARSHAL
                          Case 4:14-cr-00080-KGB                 Document 197             Filed 09/02/15          Page 3 of 6
AO 2458        (Rev. 09/11) Judgment ma Criminal Case
               Sheet 3 - Supervised Release
                                                                                                            Judgment-Page           of
DEFENDANT: FREDRICK ALVAREZ FERGUSON
CASE NUMBER: 4:14-cr-00080-08 KGB
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. if applicable)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if appltcable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probat10n officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if appltcable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if appltcable.!
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any JJersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet JC - Supervised Release
                                                                                        Judgment-Page         of
DEFENDANT: FREDRICK ALVAREZ FERGUSON
CASE NUMBER: 4:14-cr-00080-08 KGB

                                        SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of treatment.
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           Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment -   Page          of
DEFENDANT: FREDRICK ALVAREZ FERGUSON
CASE NUMBER: 4:14-cr-00080-08 KGB
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                           Fine                                 Restitution
TOTALS             $ 100.00                                             $ 0.00                               $ 0.00



 D The determination of restitution is deferred until          - - -
                                                                           . An Amended Judgment in a Criminal Case (AO 2./5C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximate!)' proportioned P.ayment, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                               Total Loss*            Restitution Ordered Priority or Percentage




 TOTALS                             $                           0.00


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D   the interest requirement is waived for the           D    fine    D    restitution.

      D the interest requirement for the            D   fine       D restitution is modified as follows:


 *Findings forthe total amount oflosses are required under Chapters 109A, 110, 1 lOA, and l 13A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment -   Page     6      of           6
DEFENDANT: FREDRICK ALVAREZ FERGUSON
CASE NUMBER: 4:14-cr-00080-08 KGB

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of$ _1O_O_._O_O_ _ __ due immediately, balance due
           D     not later than                                      , or
           D     in accordance           D C,         D D,      D      E, or    D F below; or
B     D    Payment to begin immediately (may be combined with                  oc,        D D, or      D F below); or
C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly. quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
